As to the evidence, in the first place, it cannot be regarded by the jury; they have nothing to do with it. And as to the replication, the act of 1715 is in force. The jury are to say whether the act bars plaintiffs' claim.
From this charge the reporter inferred the opinion of his Honor to be that the replication thus entered was to be considered as a general one, denying the matter of the plea, and not as introducing any new matter by way of avoidance. *Page 201 
NOTE. — See Dry v. Roper, 1 N.C. 484, but a different decision was made by the Circuit Court of the United States in Ogden v. Witherspoon,post, 227. By the act of 1799, the act of 1715 was declared to be in force, so that whether it were or were not repealed by the act of 1789, it is now in full force. 1 Rev. Stat., ch. 65, sec. 11.